                               Case 1:13-cr-00266-AWI-BAM Document 46 Filed 05/01/14 Page 1 of 2


                   1        H. Ty Kharazi, Esq. SBN 187894
                            Crystal B. Johnson, Esq. SBN 280847
                   2        YARRA, KHARAZI & CLASON
                            2000 Fresno Street, Suite 300
                   3        Fresno, CA 93721
                            Telephone: (559) 441-1214
                   4        Facsimile: (559) 441-1215
                            tkharazi@yahoo.com
                   5
                            Attorneys for Defendant,
                   6        EITEL MENDOZA-CHAVEZ

                   7
                                                    IN THE UNITED STATES DISTRICT COURT
                   8                              FOR THE EASTERN DISTRICT OF CALIFORNIA
                   9
                 10         UNITED STATES OF AMERICA,                          Case No. 1:13CR00266-001 AWI

                 11                        Plaintiff,                          STIPULATION TO MOVE HEARING AND
                                                                               ORDER
                 12                vs.                                         Date:    May 5, 2014
                 13         EITEL MENDOZA-CHAVEZ,                              Time:    10:00 a.m.
                                                                               Dept:    2
                 14                        Defendant.                          Judge:   Hon. Anthony W. Ishii

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                 16
                 17                IT IS HEREBY STIPULATED by and between the parties hereto, and through their
                 18         respective attorneys of record herein, that the Sentencing Hearing now set for May 5, 2014 at 10:00
                 19         a.m. before the Honorable District Judge Anthony W. Ishii be moved to be heard on May 19, 2014
                 20         at 10:00 a.m. in Courtroom 2.
                 21                This change is necessary in order to allow Mr. Mendoza to complete his debriefing
                 22         interview prior to sentencing.
                 23         Dated: April 29, 2014                       Respectfully submitted,
                 24
                 25                                                     YARRA, KHARAZI & CLASON

                 26                                                     /s/H. Ty Kharazi
                                                                        _____________________________
                 27                                                     H. TY KHARAZI, Attorney for Defendant,
                                                                        Eitel Mendoza Chavez
                 28
YARRA, KHARAZI &                                                           1
       CLASON
2000 Fresno St., Ste. 300
                                                              STIPULATION TO MOVE HEARING
   Fresno, CA 93721                                             CASE NO. 1:13CR00266-001 AWI
                               Case 1:13-cr-00266-AWI-BAM Document 46 Filed 05/01/14 Page 2 of 2


                   1        Dated: April 29, 2014                         BENJAMIN B. WAGNER
                                                                          United States Attorney
                   2
                                                                          /s/Katheleen A. Servatius
                   3
                                                                          ________________________________
                   4                                                      KATHLEEN A. SERVATIUS, Assistant U.S.
                                                                          Attorney
                   5
                   6
                                                                          ORDER
                   7
                                   The Sentencing Hearing is moved to May 19, 2014 at 10:00 a.m. in Courtroom 2 before the
                   8
                            Honorable District Judge, Anthony W. Ishii.
                   9
                 10
                 11         IT IS SO ORDERED.

                 12         Dated: April 30, 2014
                                                                      SENIOR DISTRICT JUDGE
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YARRA, KHARAZI &                                                            2
       CLASON
2000 Fresno St., Ste. 300
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   Fresno, CA 93721                                            CASE NO. 1:13CR00266-001 AWI
